Case 2:21-cv-01898-JS-SIL Document 232 Filed 07/19/24 Page 1 of 2 PageID #: 2641
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                                                   7/19/2024
                                           U.S. DISTRICT COURT
     Codrut Radu Radulescu            EASTERN DISTRICT OF NEW YORK
                                                                              105 Lock St, STE 211
                                                                                Newark, NJ 07103
        Attorney at Law                    LONG ISLAND OFFICE                  radur@hotmail.com
                                                                               Tel: (201) 264 8046



                                                                              July 19, 2024
Clerk’s Office
U.S. District Court Eastern District of New York
100 Federal Plaza,
Central Islip, New York 11722-9014

Re: The Research Foundation for the State University of New York v. Telluric Labs, LLC, et al.,
Docket 2:21-cv-01898 -JS-SIL (Closed)


Dear Clerk of the Court,


I am the Proposed Intervenor-Appellant in case number 24-153, and I also serve as the principal
and acting in-house counsel for Telluric Labs LLC. I am writing to respectfully request the
supplementation of the record on appeal with the latest docket activity between January 12,
2024, and June 28, 2024, including filings and transcripts, while preserving the sealed status
where necessary.

Additionally, I respectfully request access to the internal codes used to reference pages of the
nine sealed documents filed in September 2022 by the former attorney of record, Mr. Postolski,
and which do not have the regular ECF No.

If any additional information or documentation is required to support this request, please do not
hesitate to contact me. Thank you for your attention to this matter. I greatly appreciate your
assistance in resolving this issue.


 July 19, 2024                                      Respectfully submitted,
                                                   /s/ Codrut R. Radulescu
                                                   Codrut R. Radulescu

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Case 2:21-cv-01898-JS-SIL Document 232 Filed 07/19/24 Page 2 of 2 PageID #: 2642




                                      CERTIFICATE OF SERVICE


I hereby certify that on July 19, 2024, I submitted the above Letter to the Clerk of the Court by
uploading it through the EDNY URL:
https://edny.app.box.com/f/0f6348c6cb5242409fe345811278b2ca. This submission was made in
accordance with EDNY procedure for the pro se litigants, with the intention of having the Letter
docketed by the Clerk of the Court for all the parties registered on ECF.

I further certify that on July 19, 2024 I sent by email the foregoing documents to the Defendant, Telluric
Labs LLC at the following email address:

Michael@telluriclabs.com

                                                                          DATED: July 19, 2024
Respectfully submitted,
/s/ Codrut R. Radulescu
Codrut R. Radulescu

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